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                                 EXHIBIT B
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                 August 22, 2018 Frye ys. first State Bank Trial Day 2.txt
            15          a.   Ttte committee d id n 't approve i t . I did.

            16           q.     Okay.     So your’ answer is, no, a committee

            17       didn't approve it?
            1$            a.    No.     Wo committee approved it.   I did.

            IS           q. Okay*         Are yo£r *•» is that required by

            20       banking policy?

            21           ft.     Again, I ’m not sure WHat your question is.

             22          Q.     A committee review.

             23          A. What actually happens is there is

             24      generally a review Officer that reviews them to
♦
                                                                              317



              1      make sure the documents hpe correct and that sort

                 2   of thing.

                 3       Q.      But did that happen here?

              4          A,      I would assume it did,

                 5       q.      And I want to move forward, but, you know,

              6      this is critical Stuff and this seems like one of

              7      those t v commercials with a politician.        i'm trying

              8      to ask you, was your loan reviewed or not?

              9          At      Let me spy I don ’t remember if        who

             10      specifically reviewed it, hut I guarantee it got

             11      reviewed a cduple of times Subsequently both, by

             12      fDljC and our accounting firm and God knows who

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